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14
                                    UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
17 ARTHUR J. GALLAGHER & CO., a                       )   CASE NO.: 20-cv-05505-EMC
     Delaware Corporation,                            )
18                                                    )
                       Plaintiff,                     )   GALLAGHER’S ADMINISTRATIVE
19                                                    )   MOTION TO FILE UNDER SEAL
            vs.                                       )   CERTAIN PORTIONS OF ITS
20                                                    )   OPPOSITION TO DEFENDANTS’
                                                      )   MOTION FOR PARTIAL SUMMARY
21 DON TARANTINO, an individual,                      )   JUDGMENT AND MOTION TO
     BERNADETTE HEATER, an individual,                )   CONSIDER WHETHER OTHERS’
22 MICHAEL MACHETTE, an individual, and               )   MATERIAL SHOULD BE SEALED
     SPENCER BRUSH, an individual,                    )
23                                                    )   Hearing: n/a (L.R. 7-11(c))
                       Defendants.                    )   Judge: Judge Edward M. Chen
24                                                    )
                                                      )
25                                                    )
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26                                                    )
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     GALLAGHER’S AMFUS CERTAIN PORTIONS OF ITS OPPOSITION TO             Case No.: 3:20-CV-05505-EMC
     DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT AND
     MOTION TO CONSIDER WHETHER OTHERS’ MATERIALS SHOULD BE SEALED
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1            Pursuant to Civil Local Rules 7-11 and 79-5 and the Stipulated Protective Order (“SPO”)

2    entered in this case (ECF No. 60), Plaintiff Arthur J. Gallagher & Co. (“Gallagher”) files this

3    administrative motion to seal certain portions of Gallagher’s Opposition to Defendants’ Motion for

4    Partial Summary Judgment (“Opposition”), which is being filled concurrently herewith, and also

5    files this motion to consider whether Defendants’ materials should be sealed.

6            I.      GALLAGHER’S MOTION TO SEAL SHOULD BE GRANTED BECAUSE

7    COMPELLING REASONS FOR SEALING EXIST.

8            For dispositive motions, the Ninth Circuit applies the “compelling reasons” test to determine

9    whether a party is entitled to file certain documents under seal for potentially dispositive motions.

10 Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096-97 (9th Cir. 2016) (citation
11 omitted); see also Delfino Green & Green v. Workers Comp. Sols., LLC, No. 15-cv-2302, 2015 WL
12 4235356, at *1-2 (N.D. Cal. July 13, 2015) (citing Kamakana v. City & Cty. of Honolulu, 447 F.3d
13 1172, 1178-80 (9th Cir. 2006)).
14            A compelling reason to seal information exists where “court files might have become a

15 vehicle for improper purposes, such as the use of records to . . . release trade secrets.” In re Elec.
16 Arts, Inc., 298 F. App’x 568, 569-70 (9th Cir. 2008) (internal quotation and citation omitted); see
17 also Ctr. for Auto Safety, 809 F.3d at 1097 (“Examples [of a compelling reason to seal] include
18 when a court record might be used . . . ‘as sources of business information that might harm a
19 litigant’s competitive standing.’”) (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598-99
20 (1978)). For purposes of sealing, the courts broadly construe a “trade secret” to include “any
21 formula, pattern, device or compilation of information which is used in one’s business, and which
22 gives him an opportunity to obtain an advantage over competitors who do not know or use it.” In re
23 Elec. Arts, Inc., 298 F. App’x at 569-70 (quoting Restatement (First) of Torts § 757 (1939), cmt.
24 b)).
25           Similarly, a compelling reason to seal often exists when the information that is vital to a

26 business’s success such as “internal review process[es]” and “sensitive information” are regularly
27 sealed by the courts. See Opperman v. Path, Inc., No. 13-cv-0453, 2017 WL 1036652, at *3 (N.D.
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1    Cal. Mar. 17, 2017) (finding compelling reasons to seal “confidential information about Twitter’s

2    products, proposed features, design concepts, and internal review processes that constitute trade

3    secrets”); see also Adtrader, Inc. v. Google LLC, 2020 WL 6395528, at *2 (N.D. Cal. Fab. 11,

4    2020) (sealing documents regarding “internal policies, priorities, and strategic communications”

5    that “could cause competitive harm by providing insight into Google’s strategic and financial

6    decisions, and by revealing to competitors the capabilities of Google’s systems”).

7            Gallagher respectfully requests this Court to seal various documents and portions of

8    documents containing Gallagher’s confidential, proprietary, non-public information that has been

9    designated as “Confidential” or “Highly Confidential—Attorneys’ Eyes Only” by Gallagher

10 pursuant to the SPO, as set forth in the Declaration of Riley Binford in Support of: (1) Gallagher’s
11 Opposition to Defendants’ Motion for Partial Summary Judgment; and (2) Gallagher’s
12 Administrative Motion to File Under Seal Certain Portions of that Opposition (“Binford Decl.”) and
13 the Proposed Order filed herewith.
14           As detailed in the Binford Declaration the information Gallagher seeks to seal is either: (1)

15 highly sensitive and confidential information that Gallagher protects as a trade secret; or (2)
16 Gallagher’s internal strategic business policies and financial decision-making documents, including
17 sensitive financial information and the confidential information of non-party clients and Gallagher
18 employees. (Binford Decl. ¶¶ 2-5.) Gallagher’s sensitive, confidential, and trade secret information
19 is precisely the type of proprietary information typically sealed by courts. See Prescott v. Reckitt
20 Benckiser LLC, 2022 WL 847309, at *4 (N.D. Cal. Mar. 22, 2022) (“internal business strategies,
21 competitive analyses, trade secrets, product development plans, and financial information” are “an
22 appropriate subject for sealing”); see also Oracle USA, Inc. v. SAP AG, No. 07-cv-1658, 2009 U.S.
23 Dist. LEXIS 71365, at *4-5 (N.D. Cal. Aug. 13, 2009) (granting motion to seal where moving party
24 “considered and treated the information contained in the subject documents as confidential,
25 commercially sensitive and proprietary” and where “public disclosure of such information would
26 create a risk of significant competitive injury and particularized harm and prejudice . . .”) (citation
27 omitted). A compelling reason to seal this information exists because Gallagher would suffer
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     GALLAGHER’S AMFUS CERTAIN PORTIONS OF ITS OPPOSITION TO                 Case No.: 3:20-CV-05505-EMC
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1    serious competitive harm if this information were publicly disclosed because it is the type of

2    information that allows its competitors to efficiently poach clients from Gallagher. (Binford Decl.

3    ¶¶ 3, 5.) The fact that Defendants took this information and used it to poach clients from Gallagher

4    is at the very heart of this dispute, and allowing further dissemination of this material could only

5    further embolden competitors to continue poaching Gallagher’s remaining clients.

6            Gallagher’s internal communications, decision-making, and finances, including sensitive

7    internal accounting practices and the confidential information of non-party clients and Gallagher’s

8    employees, evidence highly confidential business information and are likewise proper for sealing.

9    Rodman v. Safeway Inc., No. 11-cv-3003, 2014 WL 12787874, at *2 (N.D. Cal. Aug. 22, 2014)

10 (sealing “internal, nonpublic information discussing [the defendant’s] pricing strategy, business
11 decisionmaking [sic], and financial records, which would expose [the defendant] to competitive
12 harm if disclosed”). A compelling reasons exist to seal Gallagher’s confidential customer and
13 employee information because Gallagher’s ability to maintain the confidentiality of its clients’ and
14 employee’ private information is vital to its commercial success. See Opperman, 2017 WL
15 1036652, at *4 (“the privacy interests of non-parties provide[s a] compelling reason[n] to seal”).
16 This includes Gallagher’s clients’ financial information and information related to their business
17 operations and assets, because public disclosure would allow competitors access to this sensitive,
18 non-public information and would undermine the trust clients have in Gallagher and its products.
19 (Binford Decl. ¶ 5.)
20           The sealing Gallagher proposes is narrowly tailored because Gallagher only seeks to redact

21 the information that would harm Gallagher or non-parties by public disclosure, and similarly only
22 proposes fully sealing exhibits where all or substantially all of the exhibit comprises the type of
23 sealable information described in this Motion and in the Binford Declaration. (See Proposed Order,
24 filled concurrently.) The Opposition itself contains minimal redactions of information that
25 Defendants or other third parties have designated as confidential or highly confidential.
26           Based on the above and the reasons set forth in the Binford Declaration, Gallagher attaches

27 its full and unredacted Opposition and exhibits to this Motion, with narrowly redacted/sealed
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     GALLAGHER’S AMFUS CERTAIN PORTIONS OF ITS OPPOSITION TO                  Case No.: 3:20-CV-05505-EMC
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1    versions filed publicly as required by Local Rules 79-5(d) & (e). Gallagher respectfully requests

2    that the information set forth in the Proposed Order remain sealed for the reasons discussed herein

3    and in the Binford Declaration.

4           II.     GALLAGHER’S MOTION TO CONSIDER WHETHER ANOTHER

5    PARTY’S MATERIAL BE SEALED

6           Pursuant to Local Rule 79-5(f), Gallagher hereby moves for consideration of whether

7    Defendants’ and non-parties’ materials should be filed under seal.

8           Gallagher filed the following exhibits to its Opposition under seal because they were

9    designated by the Defendants, non-party Alliant Insurance Services, Inc. (“Alliant”), or other non-

10 parties as “Confidential” or “Highly Confidential—Attorneys’ Eyes Only” (“AEO”) when they
11 were produced to Gallagher in this case pursuant to subpoenas:
12                 Exhibit                     Designating Party                Designation Level
13    Exhibit 9                          Alliant                          AEO
14    Exhibit 26                         Machette                         Confidential
15    Exhibit 27                         Tarantino                        Confidential
16    Exhibit 36                         Alliant                          Confidential
17    Exhibit 39                         Alliant                          Confidential
18    Exhibit 42                         Alliant                          Confidential
19    Exhibit 47                         Alliant                          Confidential
20    Exhibit 48                         Alliant                          Confidential
21    Exhibit 49                         Basic American Foods             AEO
22    Exhibit 78                         Kaye Bassman                     AEO
23    Exhibit 79                         Kaye Bassman                     AEO
24    Exhibit 83                         Tarantino                        AEO
25    Exhibit 84                         Tarantino                        Confidential
26
      Opposition                         Alliant & Tarantino              Confidential
27
      7:17-19
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                                                       4
     GALLAGHER’S AMFUS CERTAIN PORTIONS OF ITS OPPOSITION TO               Case No.: 3:20-CV-05505-EMC
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      Opposition                          Tarantino                         Confidential
2
      8:4-5
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      Opposition                          Alliant                           AEO/Confidential
4
      14:14-18
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      Opposition                          Alliant                           AEO/Confidential
6
      14 fn. 73
7
      Opposition                          Alliant                           Confidential
8
      14 fn. 74
9
              Gallagher understands that the above parties, under Local Rule 79-5(f)(3), within seven days
10
     of the filing of this motion, must file a statement under Local Rule 97-5(c) justifying their
11
     designations of the above-referenced exhibits.
12
13 Dated: April 7, 2022                               By:            /s/ Meghan R. McMeel
14                                                    RILEY SAFER HOLMES & CANCILA LLP
                                                      Ronald S. Safer (admitted pro hac vice)
15                                                    Harnaik Kahlon (admitted pro hac vice)
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19
                                                      Attorneys for Plaintiff
20                                                    ARTHUR J. GALLAGHER & CO.

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     GALLAGHER’S AMFUS CERTAIN PORTIONS OF ITS OPPOSITION TO                 Case No.: 3:20-CV-05505-EMC
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